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                                                                  Paper 1

     UNITED STATES PATENT AND TRADEMARK OFFICE
                  ___________________

      BEFORE THE PATENT TRIAL AND APPEAL BOARD
                  ___________________


                      SALESFORCE.COM, INC.
                            Petitioner

                                  v.

                WSOU INVESTMENTS, LLC d/b/a
            BRAZOS LICENSING AND DEVELOPMENT
                         Patent Owner
                        ____________

                      U.S. Patent No. 8,209,411

         “System, Method And Computer Program Product For
                  Providing Content To A Terminal”
                           ____________

                 Inter Partes Review No. 2022-00357

                          ––––––––––––––

PETITION FOR INTER PARTES REVIEW OF U.S. PATENT NO. 8,209,411
     UNDER 35 U.S.C. §§ 311-319 AND 37 C.F.R. §§ 42.100 et seq.
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Patent 8,209,411

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   Exhibit                                 Description
  Ex. 1001     U.S. Patent No. 8,209,411 (“the ’411 patent”)
               File History of U.S. Patent No. 8,209,411 (U.S. Patent
  Ex. 1002
               Application No. 12/506,642)
  Ex. 1003     Declaration of Dr. Douglas C. Schmidt (“Schmidt”)
  Ex. 1004     Curriculum Vitae of Dr. Douglas C. Schmidt
               G. C. Fox, S. Ko, K. Kim, S, Oh, and Lee, S., “Integration of
               Hand-Held Devices into Collaborative Environments”, to appear
               in the proceedings of the 2002 International Conference on
  Ex. 1005     Internet Computing (IC-02). June 24-27 Las Vegas., Accessed
               from
               http://grids.ucs.indiana.edu/ptliupages/publications/pdagarnetv1.
               pdf (“Fox”)
  Ex. 1006     Java Message Service by Monson-Haefel and Chappell
  Ex. 1007     Parties’ Preliminary Claim Constructions
  Ex. 1008     Scheduling Order: 6-20-cv-01164
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  Ex. 1011     WSOU Summons: 6:20-cv-01164
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  Ex. 1013     Order on Claim Construction: 6-20-cv-01164
  Ex. 1014     Consolidated Trial Practice Guide
  Ex. 1015     WSOU’s Complaint for Patent Infringement 6:20-cv-1164
  Ex. 1016     Declaration of Dr. Sylvia Hall-Ellis




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Patent 8,209,411
                           LIST OF CHALLENGED CLAIMS


    Claim                                         Limitation
     1.P           A method comprising:
     1.1           interfacing, via a messaging gateway, a first network
                   environment and a second network environment
      1.2          to receive, from the first network environment, content and
                   addressing information associated with an apparatus within the
                   second network environment
      1.3          wherein the content is reformatted in a vectorized format; and
      1.4          determining to generate a signal specifying access information to
                   access the content.
       2           A method of claim 1, further comprising:
                   determining to transmit the content to the apparatus in response
                   to a request from the apparatus, the request being generated in
                   response to the signaling.
       3           A method of claim 1, wherein the content is in a scalable vector
                   graphics (SVG) format.
       4           A method of claim 1, further comprising:
                   determining to reformat the content into another vectorized
                   format supported by the apparatus for transmitting the
                   reformatted content to the apparatus.
       5           A method of claim 4, further comprising:
                   receiving either a text message, a source identification, or a
                   combination thereof; and
                   determining to append the reformatted content to the text
                   message, the source identification, or the combination thereof,
                   for transmission to the apparatus.
       6           A method of claim 1, wherein the addressing information
                   includes either a mobile telephone number, a session initiation
                   protocol (SIP) address, or a combination thereof.
       7           A method according to claim 6, wherein the signaling is in
                   compliance with a short messaging service (SMS), or a session
                   initiation protocol (SIP).
       8           A method of claim 1, further comprising: determining to
                   authenticate the apparatus based, at least in part, upon the
                   addressing information of the apparatus.
       9           A method of claim 8, wherein the apparatus is authenticated
                   based, at least in part, upon an international mobile equipment
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Patent 8,209,411
    Claim                                       Limitation
                   identification code associated with the apparatus, a session
                   authentication key transferred to the apparatus during the
                   signaling, or a combination thereof.
     10.P          An apparatus comprising:
     10.1          at least one processor; and
     10.2          at least one memory including computer program code for one or
                   more programs,
     10.3          the at least one memory and the computer program code
                   configured to, with the at least one processor, cause the apparatus
                   to perform at least the following,
     10.4          interface, via a messaging gateway, a first network environment
                   and a second network environment
     10.5          to receive, from the first network environment, content and
                   addressing information associated with an apparatus associated
                   within the second network environment,
     10.6          wherein the content is reformatted in a vectorized format; and
     10.7          determine to generate a signal specifying access information to
                   access the content.
      11           An apparatus of claim 10, wherein the apparatus is further
                   caused to:
                   determine to transmit the content to the apparatus in response to
                   a request from the apparatus, the request being generated in
                   response to the signaling.
      12           An apparatus of claim 10, wherein the content is in a scalable
                   vector graphics (SVG) format.
      13           An apparatus of claim 10, wherein the apparatus is further
                   caused to:
                   determine to reformat the content into another vectorized format
                   supported by the apparatus, for transmitting the reformatted
                   content to the apparatus.
      14           An apparatus of claim 13, wherein the apparatus is further
                   caused to:
                   receive either a text message, a source identification, or a
                   combination thereof; and
                   determine to append the reformatted content to the text message,
                   the source identification, or the combination thereof, for
                   transmission to the apparatus.
      15           An apparatus of claim 10, wherein the addressing information

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    Claim                                       Limitation
                   includes either a mobile telephone number, a session initiation
                   protocol (SIP) address, or a combination thereof.
      16           An apparatus according to claim 15, wherein the signaling is in
                   compliance with a short messaging service (SMS), or a session
                   initiation protocol (SIP).
      17           An apparatus of claim 10, wherein the apparatus is further
                   caused to:
                   determine to authenticate the apparatus based, at least in part,
                   upon the addressing information of the apparatus.
     18.P          A computer-readable storage medium carrying one or more
                   sequences of one or more instructions which, when executed by
                   one or more processors, cause an apparatus to at least perform
                   the following steps:
     18.1          interfacing, via a messaging gateway, a first network
                   environment and a second network environment
     18.2          to receive, from the first network environment, content and
                   addressing information associated with an apparatus within the
                   second network environment,
     18.3          wherein the content is reformatted in a vectorized format; and
     18.4          determining to generate a signal specifying access information to
                   access the content.
      19           A computer-readable storage medium of claim 18, wherein the
                   apparatus is caused to further perform:
                   determining to transmit the content to the apparatus in response
                   to a request from the apparatus, the request being generated in
                   response to the signaling.
      20           A computer-readable storage medium of claim 18, wherein the
                   content is in a scalable vector graphics (SVG) format.




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IPR2022-00357
Patent 8,209,411
I.    INTRODUCTION

       Patent Owner WSOU Investments, LLC D/B/A Brazos Licensing and

Development (“WSOU”) is a non-practicing entity, and states that it is based in

Waco, Texas. WSOU recently sued Petitioner Salesforce simultaneously filing

nine other litigations alleging infringement of nine separate patents. All of these

patents stem from different patent families.

       One of those ten patents, U.S. Patent No. 8,209,411 (“’411 patent”) is the

subject of the present Petition. The ’411 patent is directed to sending converted

files from a desktop environment to a mobile terminal such as a mobile phone.

The ’411 patent does not purport to claim any new or improved file-conversion

systems or methods for converting a file from one format to another. Nor does it

purport to claim any new communication protocol, relying instead on what the

patent admits are pre-existing standards such as the SVG (scalar vector graphics)

format and derivatives of SVG (e.g., Mobile SVG, SVG-Tiny, SVG-Basic).

Instead, the ’411 patent effectively seeks to cover a broad and straightforward

messaging gateway architecture for routing a converted file to a mobile terminal.

As will be demonstrated below, this technique, as well as all of the various features

of the dependent claims, were well-understood and thoroughly discussed in the

prior art.




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Patent 8,209,411
      Accordingly, Petitioner salesforce.com, Inc. (“Salesforce” or “Petitioner”)

respectfully requests Inter Partes review of claims 1–20 (“the challenged claims”)

of the ’411 patent assigned to WSOU Investments, LLC (“Patent Owner” or

“WSOU”), pursuant to 35 U.S.C. § 311 and 37 C.F.R. § 42.100.

II.    MANDATORY NOTICES

       Pursuant to 37 C.F.R. § 42.8(a)(1), the following mandatory notices are

provided as part of this Petition.

       A.       Real Party-in-Interest (37 C.F.R. § 42.8(b)(1))

       The real party-in-interest for Petitioner is salesforce.com, Inc.

       B.       Related Matters (37 C.F.R. § 42.8(b)(2))

                1.    Related Patent Office Proceedings

       There are no related Patent Office proceedings.

                2.    Related Litigation

       WSOU is currently asserting the ’411 patent against Petitioner in WSOU

Investments, LLC d/b/a Brazos Licensing and Development v. Salesforce.com, Inc.,

Case No. 6:20-cv-1164-ADA (W.D. Tex.) (the “District Court litigation” or “the

litigation”).

       C.       Lead and Backup Counsel and Service Information (37 C.F.R.
                §§ 42.8(b)(3)-(4))




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Patent 8,209,411
      Petitioner provides the following counsel and service information.1 Pursuant

to 37 C.F.R. § 42.10(b), a Power of Attorney accompanies this Petition.

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                                         Quinn Emanuel Urquhart & Sullivan,
                                         LLP


1        Petitioner     consents        to       electronic       service       to

qewsouvsalesforce@quinnemanuel.com and the email addresses listed in the table

below.

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Patent 8,209,411
                                           1109 First Ave., Suite 210
                                           Seattle, WA 98101
                                           Tel: (206) 905-7000

       Petitioner consents to electronic service at the email addresses listed above.

       D.    Payment of Fees (37 C.F.R. § 42.15(a))

       The undersigned authorizes the Office to charge the fee required for this

Petition for Inter Partes Review to Deposit Account No. 50-5708. Any additional

fees that might be due are also authorized.

III.   REQUIREMENTS FOR INTER PARTES REVIEW

       Petitioner certifies it is not barred or estopped from requesting this

proceeding, the ’411 patent is available for Inter Partes review, and the

prohibitions of 35 U.S.C. §§315(a)-(b) are inapplicable.

IV.    STATEMENT   OF   RELIEF                   REQUESTED           FOR       EACH
       CHALLENGED CLAIM

       Petitioner respectfully requests that Inter Partes review of the challenged

claims based on the following obviousness ground:

       #       Ground for Challenge

       1       Claims 1-20 are obvious in view of Fox and the Java Message
               Service

       2       Claims 1-7, 10-16, and 18-20 are obvious in view of Fox

       3       Claims 8, 9, and 17 are obvious in view of Fox and the Java
               Message Service


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Patent 8,209,411
V.    OVERVIEW OF THE ’411 PATENT

      A.    Technology
      The ’411 patent is directed to “systems and methods of providing content to

a terminal having a limited display area for presenting such content.” Ex. 1001,

1:17–19. As stated in the ’411 specification, mobile devices of the time (such as

“internet-enabled mobile phones” and “PocketPC and palm-based computers”)

lacked the “storage capacity, memory, bandwidth, and [] large … display” required

to download and display e-mail attachments (e.g., “normal application files–such

as PowerPoint files, images, etc.”). Id., 1:58–65, 2:10–13, 17–19, 38–40. Instead,

these devices of the time purportedly would “render [such content] in an extremely

slow and/or inconvenient manner,” id., 9:44–45, for example, breaking up “large

source documents into smaller parts because transmitting long documents at once

over slow wireless networks can try the patience of users,” id., 2:40–43. Ex. 1003,

Declaration of Dr. Schmidt (hereinafter “Schmidt”) at ¶28.

      To address this problem, the ’411 patent describes systems and methods for

reformatting mobile content, before delivery, into a well-known “vectorized”

format (which were prevalent in the prior art at the time), such as Scalar Vector

Graphics (“SVG”). Id., 10:21-30. More particularly, to implement the described

methods of delivering such reformatted content, the ’411 patent further discloses

use of a “messaging gateway” to deliver this reformatted content from a first


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Patent 8,209,411
network environment to an apparatus in a second network environment.          Id.,

3:40-46. As illustrated in Figure 4 below, the messaging gateway is situtated

between the source in a first networking environment and the destination in a

second networking environment.      The messaging gateway receives, from the

source, vectorized content intended for a mobile device, and then provides that

content to the destination client for rendering and display. Id., 10:12–34; 35–41.

Schmidt ¶29.




      In addition to the reformatted content, a destination address of the mobile

device for which the reformatted content is destined is sent to the messaging

gateway. Id., 10:55-63. Schmidt ¶30.

      B.    Priority Date
      Because the prior art cited in this Petition predates the earliest possible


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Patent 8,209,411
priority date of the ’411 patent (June 4, 2004), each cited reference herein qualifies

as prior art under at least one of pre-AIA 35 U.S.C. 102(a), (b), and/or (e).

Schmidt ¶31.

      C.       Prosecution History
      On April 20, 2011, the Examiner issued a Non-Final rejection rejecting

claims 1-20 (claims 2-21 during prosecution) as being unpatentable over U.S.

Patent No. 7,210,099 (“Rohrabaugh”) in view of U.S. Patent Publication No.

2004/0048602 (“Tamura”). Ex. 1002 (FH at April 20, 2011 Office Action at

page 2).      The Examiner rejected the independent claims on the basis that

Rohrabaugh discloses each limitation of the independent claims except for

“determining to generate a signal specifying access information to access the

content.”     The Examiner combined Rohrabaugh with Tamura to satisfy this

limitation.

      In response to this rejection, the applicant amended the independent claims

to clarify that content and addressing information associated with the apparatus

within the second network environment is received from the first network

environment. Ex. 1002 (FH at July 20, 2011 Response to Office Action at page 2).

      During prosecution, the Examiner also recognized the apparent ambiguity in

the claim language and the intrinsic record, issuing a rejection under 35 U.S.C.

§ 112 of pending claims 2-10 (issued claims 1-9) as indefinite, on the grounds that


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“[i]t is unclear as to what causes the determining step to generate a signal

specifying the access information to access the content.”       Ex. 1002 (FH at

October 14, 2011 Office Action at page 2). Subsequently, during a telephonic

interview with the Examiner, the Applicant made arguments to overcome this

rejection that addressed the Examiner’s finding of a lack of clarity as to what was

performing the determining step.      See Ex. 1002 (FH at February 14, 2012

Amendment and Remarks at page 7).

      Also in the October 14, 2011 Office Action, the Examiner issued a non-

statutory double-patenting rejection based on U.S. Patent No. 7,584,244.

Responsive thereto, the applicant filed a terminal disclaimer.       A Notice of

Allowance was then issued.

VI.   PERSON OF ORDINARY SKILL IN THE ART

      A person of ordinary skill in the art (“POSITA”) relating to the subject

matter of the ʼ411 patent is a person with a Bachelor of Science degree in computer

science, or a related subject matter, plus at least two years of professional

experience in the field of computer networks, wireless communications, or a

similar field. This level of skill is approximate, and more experience would

compensate for less formal education, and vice versa. Schmidt ¶¶32-34.




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Patent 8,209,411
VII. CLAIM CONSTRUCTION

      The claim construction process has begun in the litigation – the parties have

exchanged proposed constructions (Ex. 1007) and a Markman hearing was held on

December 15, 2021.        The only disputed term was “messaging gateway”

(independent claims 1, 10, and 18).      The District Court issued a ruling that

“messaging gateway” is to be accorded a “plain and ordinary” meaning. Ex. 1013

(Transcript of December 15, 2021 Hearing at 32:15-17). This ruling, however,

does not impact this petition, as the prior art renders the claims unpatentable under

either Petitioner’s or Patent Owner’s construction proposed in the litigation.

Petitioner presents this construction pursuant to the Trial Practice Guide’s

requirement that “[p]arties should submit a prior claim construction determination

by a federal court or the ITC in an AIA proceeding as soon as that determination is

available.” Ex. 1014 at 47. Schmidt ¶35.

      Petitioner proposed that this term be construed as “a device or program to

connect disparate computer network environments and deliver content from the

first network environment to a specific apparatus in the second network

environment.” Patent Owner proposed the plain and ordinary meaning without

more explanation. Schmidt ¶35.

      Notwithstanding the District Court’s ruling, Petitioner believes its proposed

construction provided in Exhibit 1007 for “messaging gateway” is correct (“a


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device or program to connect disparate computer network environments and

deliver content from the first network environment to a specific apparatus in the

second network environment”). Petitioner’s proposed construction of “messaging

gateway” reflects the intrinsic record. Ex. 1001 at 2:47-52 (“embodiments of the

present invention provide an improved system, method and computer program

product for providing content from a fixed network, typically, personal computer

(PC), environment to a destination, such as a mobile terminal, operating in a

different network and computing platform”). In addition, as described above,

during prosecution applicant amended the independent claims such that the content

and addressing information associated with the apparatus within the second

network environment is received from the first network environment (Ex. 1002;

FH at July 20, 2011 Response to Office Action at page 2), requiring that the first

and second network environments be disparate.             Moreover, Petitioner’s

construction of “messaging gateway” is a device or program that delivers received

content to a specific apparatus in the second network environment, as opposed to

multiple apparatuses. Schmidt ¶¶35-36.

      In contrast, Patent Owner argued that the first network environment and the

second network environment may be the same.             However, this proposed

construction ignores the plain and ordinary meaning of the words of the claim and

violates well-known principles of claim construction. See, e.g., Hill-Rom Servs.,

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Inc. v. Matal, 716 F. App'x 996, 1001 (Fed. Cir. 2017) (in the absence of any

evidence to the contrary, different terms in the claims connotes different

meanings).     Moreover, PO’s proposed interpretation of this phrase allows

messages to be sent to any number of apparatuses within the second network,

without being tied to a specific device. Schmidt ¶¶35-36.

      Notwithstanding the District Court’s ruling, Petitioner maintains that its

proposed construction is the correct interpretation, as it most naturally aligns with

the intrinsic evidence. As it pertains to this Petition, resolution of this issue is not

necessary to conclude that the challenged claims are unpatentable. The claims are

unpatentable under both Petitioner’s interpretation and PO’s broader interpretation.

Schmidt ¶¶36-37.

VIII. THE PRIOR ART

      A.     The State of the Art

      All of the underlying technologies of the ’411 patent claims were well-

known to a POSITA. Schmidt ¶39.

      B.     Messaging Gateways

      A messaging gateway is a computing system comprising hardware and/or

software that implements an architectural pattern where messages in one

messaging protocol are automatically converted to messages in another messaging

protocol. By applying this approach, only the messaging gateway code knows


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about the messaging system, whereas the rest of the application code does not,

thereby simplifying the design and implementation of the application code. See,

e.g., Enterprise Integration Patterns: Designing, Building, and Deploying

Messaging Solutions by Gregor Hohpe and Bobby Woolf, 1st edition (October 10,

2003); Schmidt ¶40.

      C.    Vectorizing Content

      Vectorizing content are computer graphics images that are defined in terms

of points on a Cartesian plane. These points are connected by lines and curves to

form polygons and other graphical shapes. See, e.g., Scalable Vector Graphics

SVG 1.0 Specification (November 1, 2000); Schmidt ¶41.

      D.    Publish/Subscribe Messaging Services

      Publish/subscribe messaging services are hardware and/or software that

implement an architectural pattern where publishers of messages do not send the

messages directly to specific subscribers, but instead reply on some type of

message broker that relays messages from the publisher to the subscribers, without

the publishers having knowledge of which subscribers, if any, there are. Similarly,

subscribers express their interest(s) with the message broker only receive messages

that are of interest, without subscribers having knowledge of which publishers, if

any, there are. See, e.g., Ex. 1006, Java Message Service, Chapter 4. Publish-and-

Subscribe Messaging; Schmidt ¶42.


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      E.     Point-to-Point Messaging Services

       Point-to-point messaging services are hardware and/or software that

implement an architectural pattern based on the concepts of message queues,

senders, and receivers. Each message transmitted by a sender is addressed to a

specific queue that is established to hold such messages. A receiver can extract

messages from a specified queue and process these messages as it sees fit. Queues

retain all messages transmitted to them via a sender until the messages are

consumed by the receiver or until the messages expire. See, e.g., Ex. 1006, Java

Message Service, Chapter 5. Point-to-Point Messaging; Schmidt ¶43.

       F.    Summary of Integration of Hand-Held Devices Into Collaborative
             Environments (Fox, Ex. 10052)

       Fox, Ex. 1005,3 discloses a messaging gateway (e.g., PDA adaptor) that “sits

between mobile clients and [PC clients] and does user management, message mapping,

connection management, and message optimization based on the user and device

2
    Hereinafter “Fox.”

3
    Fox, Ex. 1005, was a printed publication that was publicly available at least as

early as September 5, 2003, such that a POSITA, exercising reasonable diligence,

could have located it. Moreover, the attached Ex. 1005 is a true and authentic copy

as it existed on such date. This is supported by the attached declaration of Dr.

Hall-Ellis, Ex. 1016.

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specification.” Fox at 2. Fox discloses customizing the content sent to the mobile

client depending on client specifications by keeping user profile information and

mobile device profile information, such as screen size and the device type in the PDA

adaptor. Fox at 3; Schmidt ¶44.

      Fox describes a modification to the Garnet Collaboration system (also called the

Garnet Message Service or “GMS”) to support distance education, collaborative

computing and building electronic communities. Generally, the Garnet Collaboration

system integrated synchronous and asynchronous collaboration for computing devices

to interact with each other. Fox was built on the Java Message Service as the industry

standard for publish/subscribe systems and supported universal access including PDAs

collaborating with desktop computing devices. Fox at 1; Schmidt ¶45.

      Fox’s modification to the Garnet Message Service – the Garnet Message

Service Micro Edition (GMSME) – allows for hand-held devices, mobile phones, as

well as conventional desktops to join in one collaboration session. Because the Garnet

Message Service could not support lightweight clients such as PDAs (because of their

smaller displays and slower processors), the universal collaboration and access

architecture of the Garnet Message Service Micro Edition (GMSME) was proposed to

support these types of clients. Fox at 1; Schmidt ¶46.

      Fox’s system is shown generally in connection with Fig. 1. Schmidt ¶47.




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        Fox also discloses the translation of content into vector files for distribution

of that vectorized content to mobile devices. See, e.g., Fox at 6; Schmidt ¶48.

        G.    Summary of Java Message Service (Ex. 10064)

        The Garnet Message Service Micro Edition (GMSME) of Fox is built on the

Java Message Service (“JMS”), Ex. 1006.5 As of 2001, the JMS was the de facto

4
    Hereinafter “JMS.”

5
    JMS, Ex. 1006, was a printed publication that was publicly available at least as

early as June 18, 2001, such that a POSITA, exercising reasonable diligence, could

have located it. Moreover, the attached Ex. 1006 is a true and authentic copy as it

existed on such date. This is supported by the attached declaration of Dr. Hall-

Ellis, Ex. 1016.

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industry standard application programming interface (API) for message-oriented

middleware used to facilitate the sending and receiving of messages between

software systems. Schmidt ¶49.

         The JMS describes two models to send messages from a sending device to a

receiving device: publish/subscribe 6 and point-to-point. 7 These two models are

based on the same message header information and, depending on the use case, a

user may decide to send a message from a sending device to a receiving device

using either model.      The point-to-point model is referred to in Ground 1 in

connection with sending content to a specific apparatus in the second network

environment. Schmidt ¶50.

         In addition to describing models for sending messages between devices, the

JMS, among other things, describes the authentication of client devices to give

clients permission to send and receive messages (claims 8, 9, 17; Grounds 1 and 3).


6
    In publish/subscribe messaging, a sending device broadcasts a message with a

topic.    Devices that are subscribed to that topic are “listening” for messages

broadcast with that topic and will receive those messages. Schmidt ¶50.

7
    In point-to-point messaging, the addressing information of the destination is

explicitly known to the sender and that addressing information is sent by the sender

along with the message content. Schmidt ¶50.

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Schmidt ¶51.

IX.   INSTITUTING THIS IPR WOULD BE EQUITABLE

      A.      NHK-Fintiv Factors Support Institution

      The Board balances six factors in considering denial under 35 U.S.C.

§314(a). Here, the weight of these factors strongly favors institution. Apple Inc. v.

Fintiv, Inc., IPR2020-00019, Paper 11 (PTAB Mar. 20, 2020) (precedential)

(“Fintiv”).

              1.    Overlap Between Issues Raised in the Petition and in the
                    Parallel Proceeding

      There will be no overlap between this Proceeding and the litigation, as

Petitioner stipulates that, if this IPR proceeding is instituted, Petitioner will not

pursue in the litigation the grounds raised here, or that could have reasonably been

raised (i.e., any ground that could be raised under §§ 102 or 103 on the basis of

prior art patents or printed publications). This wavier is intended to be

commensurate in scope with the estoppel provisions of 35 U.S.C. §315(e)(2).

      The PTAB has found this kind of stipulation “mitigates any concerns of

duplicative efforts between the district court and the Board, as well as concerns of

potentially conflicting decisions.” Sotera v. Masimo Wireless, IPR2020-01019,

Paper 12 at 19 (PTAB December 1, 2020) (Precedential as to §II.A). As such “this

factor weighs strongly in favor of not exercising discretion to deny institution.”



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Id.; accord Sand Revolution II, LLC v. Cont’l Intermodal Group – Trucking LLC,

IPR2019-01393, Paper 24 at 12 FN 5 (PTAB June 16, 2020) (informative).

      Moreover, and in addition to this waiver, there are additional issues

addressed in this Petition that are not addressed in the litigation. This Petition

challenges nine more claims than at issue in the Litigation. This Petition

challenges twenty claims (1-20) whereas only claims 1, 3, 6-8, 10, 12, 15-18,

and 20 are at issue in the litigation. The additional claims in this Petition implicate

issues not raised in the District Court including the signaling between the

messaging gateway and a mobile device (e.g., text message, session initiation

protocol, and short message service whereas the signaling in the District Court

litigation is limited to email and SMS), reformatting already reformatted content

(not applicable in the District Court litigation), and authentication of messages

between the messaging gateway and the mobile device (also not applicable in the

District Court litigation).

             2.     Likelihood of a Stay

      Neither party has requested a stay in the parallel litigation. Typically, a

district court stay of a litigation pending resolution of the PTAB trial allays

concerns about inefficiency and duplication of efforts. However, here those

concerns are alleviated by the above stipulation, which confirms that the PTAB –

and the alone – will address invalidity under §§ 102 and 103 based on patents and


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printed publications. This ensures that IPR is a “true alternative” to the district

court proceeding. Sand Revolution, IPR2019-01393, Paper 24 at 7.

      This factor thus weighs in favor of institution or is at least neutral.

             3.     Proximity of the Court’s Trial Date to a FWD

      The District Court entered a Scheduling Order on November 29, 2021

(Exhibit 1008) governing the ten patent disputes filed by WSOU. Previously, the

District Court ordered that the ten patent disputes be split up into three groups with

the first group being scheduled for trial on December 5, 2022. Ex. 1009. Trial for

the second and third groups are set for February 6, 2023 and March 6, 2023,

respectively. The parties have not yet determined which group the ’411 Patent will

be a part of nor the trial date for the ’411 Patent. The parties are to propose to the

District Court, by July 8, 2022, the proposed groupings for trial. Ex. 1010.

      Petitioner notes, however, that even in cases where trial is earlier than an

expected final written decision, the Board should seek “to balance considerations

such as system efficiency, fairness, and patent quality.” Fintiv, IPR2020-00019,

Paper 11 at 5 (collecting cases). Here, that balance weighs in favor of institution,

as, even if trial occurs before a final written decision, Petitioner has filed a broad

Fintiv waiver that ensures this forum will be the only one to consider patentability

based on § 102/103 printed publications.




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             4.  Investment in the Parallel Proceeding

      Investment in the parallel proceeding has been minimal. WSOU did not

serve the complaint until February 24, 2021. Ex 1011, Ex. 1012.

      At this point, the District Court has invested virtually no time in assessing

the parties’ claims and defenses—including invalidity. No motion for preliminary

injunction was filed. Other than a motion to dismiss the complaint (for which the

District Court has issued no order nor scheduled a hearing for), no substantive

motions have been brought before the District Court. The District Court will have

invested little time in addressing the invalidity of the ’411 patent by the time this

Board decides whether to institute this Petition.

      While the District Court invested some time in deciding the claim

construction of “messaging gateway,” it will likely not invest significantly in

deciding invalidity until dispositive motions are filed in September 2022.

Ex. 1008, 1009. As such the Court is not expected to invest time in determining

invalidity until months after an institution decision on this Petition.

      Given these circumstances, this factor favors institution.

             5.     Whether the Petitioner and the Defendant in the Parallel
                    Proceeding are the Same Party

      The parties are the same in this IPR and in the litigation. Given the

stipulation discussed above, however, this factor is neutral.



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             6.  Other Circumstances, that Impact the Board’s Exercise of
                 Discretion, Including the Merits

      Other circumstances strongly favor institution. In particular, denying

institution here will (1) negate the statutorily provided 1-year filing period—

because this Petition was filed before closure of the 1-year window; (2) encourage

forum shopping; and (3) condition the institution of IPRs on the timing of an oft-

changed trial placeholder. No other parties have sought IPR of the ’411 patent.

      In particular, Congress, when enacting the America Invents Act, explained

that district court defendants should be permitted more than 6 months to fully

evaluate claims in a parallel litigation—extending the IPR bar date from 6 months

to 1 year. See 157 Cong. Rec. S5429 (Sept. 8, 2011) (S. Kyl) (explaining

importance of allowing an accused infringer to seek IPR in view of estoppel, and

concomitant need to extend deadline from six months to 12 months to afford

defendants a reasonable opportunity to identify and understand patent claims

before filing an IPR that may trigger estoppel).

      Moreover, the merits of the present Petition are particularly strong and

outweigh countervailing considerations of efficiency. Had the Examiner been

aware of these references during prosecution, the Examiner would not have issued

the ’411 patent. As detailed below, the combinations based on Fox and the Java

Message Service provide compelling disclosures that render obvious all claims of

the ’411 patent. These considerations weigh in favor of institution. Illumina, Inc.
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v. Natera, Inc., IPR2019-01201, Paper 19 at 8 (PTAB Dec. 18, 2019) (instituting

when “the strength of the merits outweigh relatively weaker countervailing

considerations of efficiency”).

      B.     35 U.S.C. § 325(d) Factors Support Institution

      Similarly, the Board should not exercise its discretion under § 325(d).

Neither of the two prongs to analyze denial under 325(d) are relevant here.

Advanced Bionics, LLC v. MED-EL Elektromedizinische Geräte GmbH, Paper 6

at 7 (PTAB Feb. 13, 2020).

             1.    None of the Cited Prior Art Was Cited During Prosecution
      First, none of references discussed in this Petition have been considered by

the Patent Office during prosecution. They were not considered by the Examiner,

cited in an IDS, nor were they cited on the face of the ’411 patent. Moreover, there

are no IPR or post-grant proceedings involving the ’411 patent to date. See

generally, Ex. 1001, Ex. 1002.

             2.    The Cited Prior Art Is Not Cumulative of Cited Art
      Second, the art cited in this Petition is not cumulative of the art substantively

considered by the Examiner. Discretionary denial under § 325(d) is thus

unwarranted. Pure Storage, Inc. v. Realtime Data LLC, IPR2018-00549, paper 7

at 11 (PTAB July 23, 2018). Rohrabaugh is directed to a proxy server receiving

requests from clients to translate web content into a scalable vector representation


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and sending the translated content to the requesting client. Tamura discloses a

mobile telephone apparatus with a remote access function and a remote access

method for a mobile communication system. These were the only two references

relied upon as rejecting references during prosecution. Neither disclose

reformatting content into a vectorized format in a first network environment,

receiving the reformatted content and addressing information at a messaging

gateway, and sending the reformatted content to a mobile apparatus in a second

network environment. After the patentee amended the claims such that the content

and addressing information is received by the messaging gateway from the first

network environment, the claims were allowed. These claim limitations are

expressly disclosed by Fox and the JMS. Therefore, Rohrabaugh and Tamura are

not cumulative Fox and the JMS.

X.    GROUND 1: CLAIMS 1-20 ARE OBVIOUS IN VIEW OF FOX AND
      THE JAVA MESSAGE SERVICE

      A.    Overview of Ground 1

      Fox in view of Java Message Service renders claims 1-20 obvious. Fox is

cited for the majority of the limitations of the claims, with the exception of the

“addressing information associated with an apparatus” limitations (limitations 1.2,

10.4, and 18.2), and the “authenticating” claims (claims 8, 9, and 17).

Schmidt ¶52.

      As discussed above, the parties dispute the scope of “messaging gateway.”

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Under Petitioner’s proposed construction, this term requires that information is

addressed to and received by a specific device. PO’s proposed “ordinary meaning”

for the term includes no such requirement. Thus, Fox – as viewed or modified

through the teachings of the JMS to include the JMS’s point-to-point addressing

model – renders the claims unpatentable under Petitioner’s proposed construction

and likewise renders the claims unpatentable under PO’s proposed broader

construction. Schmidt ¶53.

      In particular, this Ground asserts that:

 Fox discloses the ’411 Patent’s method, apparatus, and computer-readable

   storage medium that interfaces between a first network environment and a

   second network environment to receive addressing information and content

   reformatted in a vectorized format. Fox uses systems known as the “Garnet

   Message Service” (“GMS”) and “Garnet Message Service Micro Edition”

   (“GMSME”).       As discussed above, the GMS and GMSME allow for

   synchronous and asynchronous collaboration for computing devices to interact

   with each other and, in the case of the GMSME, allows for hand-held devices,

   mobile phones, as well as conventional desktops to join in one collaboration

   session. Fox explicitly states that the Garnet Message Service and Garnet

   Message Service Micro Edition were built on the Java Message Service. Fox

   discloses, using the publish/subscribe model of the Java Message Service, a

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   PDA adaptor that receives content and addressing information from a fixed

  network environment that is destined for an apparatus in a cellular network

  environment. Fox further discloses “determining to generate a signal specifying

  access information to access the content.” Schmidt ¶54.

 The Java Message Service (“JMS”) discloses two models for sending a message

  from a first device to a second device.            The two models are the

  publish/subscribe model and the point-to-point model. The JMS establishes (as

  does Dr. Schmidt, an expert in this field) that a POSITA would have naturally

  added the point-to-point model to Fox because Fox is JMS-based and the JMS

  discloses both the publish/subscribe and point-to-point models. As described

  below, a POSITA would have chosen either model depending on the use case.

  Moreover, modifying Fox’s addressing scheme to include JMS’s point-to-point

  model would have been well within the abilities of a POSITA with far more

  than a reasonable expectation of success. A POSITA, reading Fox in light of

  the JMS, would have been motivated to modify Fox to include the JMS

  teachings of point-to-point addressing for at least the reasons discussed below.

  Among other reasons, using the point-to-point addressing scheme would allow

  a developer greater control over the system and greater efficiencies (including

  mitigating connectivity and bandwidth issues), and would ensure delivery of

  messages to receiving devices, and allows for a message to be sent only once.

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   Schmidt ¶54.

 The JMS also describes authenticating clients and it would have been obvious

   to a POSITA to combine Fox with the JMS’s teachings on authentication.

   Schmidt ¶54.

      B.    Motivation to Combine Fox and Java Message Service

      A POSITA, starting with the middleware and vector reformatting taught by

Fox would have been motivated to combine the teachings of the JMS point-to-

point model. Schmidt ¶55.

      As already discussed, Ground 1 relies on a combination of Fox and the JMS,

and more specifically relies on the teachings of the JMS’s point-to-point

addressing scheme as disclosing the “addressing information” limitation. A

POSITA would have understood that Fox expressly discloses the use of the JMS’s

point-to-point addressing scheme (as disclosed in the JMS reference) as Fox

expressly incorporates the JMS. In fact, Fox specifically describes the use of the

JMS’s publish/subscribe addressing scheme. Fox’s Garnet Message Service Micro

Edition (GMSME) is built on the JMS. As of 2001, the JMS was the de facto

industry standard application programming interface (API) for message-oriented

middleware used to facilitate the sending and receiving of messages between

software systems. Schmidt ¶56.

      While Fox does not specifically describe the use of Java’s point-to-point

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addressing scheme, a POSITA would have understood that since Fox was built on

the JMS, Fox would have naturally incorporated the entirety of the JMS, not just

select portions. Thus, a POSITA would have understood that Fox includes both

publish/subscribe and point-to-point messaging, as both are included in the JMS.

This point-to-point addressing scheme is described in the JMS reference that is part

of Ground 1. Schmidt ¶57.

      To the extent PO argues that a POSITA would not have understood Fox to

have included the entirety of the JMS (or at least both the publish/subscribe and

point-to-point messaging), it would have been obvious to modify Fox, according to

the teachings of the JMS, to include point-to-point messaging.          As already

discussed, Fox expressly states that it is built on the JMS, and expressly uses its

publish/subscribe addressing scheme. The JMS further includes the point-to-point

addressing scheme, and a POSITA would have found the modification of Fox to

include functionality already included in the JMS to be trivial, and would have

naturally combined the entirety of the JMS with Fox, including the JMS point-to-

point model.8 Indeed, the two models are expressly designed to be coexistent, as



8
    Although Fox doesn’t expressly state that it implements the point-to-point

model, a POSITA would have understood that Fox would not have implemented

only one of the two messaging models.

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the message header information utilized in a publish/subscribe message is also

utilized in a point-to-point message and therefore the publish/subscribe header

information already disclosed in Fox could readily be applied to the point-to-point

model. Schmidt ¶58.

      As described above, Fox describes using the publish/subscribe model of the

JMS (e.g., Fox at 1). Generally speaking, the publish/subscribe model includes a

device that is broadcasting content along with a “topic.” JMS at 11. Receiving

devices subscribe to one or more topics. Devices that are listening for broadcasts

can typically only receive broadcast messages if they are connected to the network

at the time the messages are broadcast and if they are subscribing to a particular

topic. To ensure delivery, a message may have to be broadcast multiple times.

Unless the topic is pertinent to a particular receiving device (e.g., by ensuring that

the topic appended to a message is subscribed to by a particular receiving device),

transmitting devices typically are agnostic as to which device or devices receive

broadcasted content (and whether the broadcasted content is received at all). Id. at

10-11; Schmidt ¶59.

      This addressing scheme has several drawbacks. Primarily, it does not ensure

delivery of content to specific devices. Moreover, the scheme does not guarantee

on-time delivery.     Thus, in situations where such guarantees are required, a

POSITA would employ the point-to-point model instead of the publish/subscribe

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model. JMS at 10-11.         The JMS highlights that “[p]oint-to-point is more

convenient when you want one receiver to process any given message once-and-

only-once. This is perhaps the critical difference between the two models: point-

to-point guarantees that only one consumer processes a given message.” Id. at 71.

If the user of the system were concerned about connectivity issues, the user would

opt for the point-to-point model as “p2p messages are always delivered, regardless

of the current connection status of the receiver.” Id. at 70; Schmidt ¶60.

      A POSITA would understand that choosing the point-to-point model over

the publish/subscribe model is merely a matter of preference, familiarity with the

different models, and use case:




JMS Page 70.




JMS Pages 70-71. Schmidt ¶61.

      In use cases in which there are prospective connectivity issues (non-

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guaranteed message delivery), bandwidth issues (which leads to the desirability of

sending a message once-and-only-once), and whether it is desirable for a message

to be received by only one receiving device, a POSITA would implement the

point-to-point model instead of the publish/subscribe model. Schmidt ¶62.

      Same field of endeavor: Fox and the JMS are both directed to solving

problems associated with sending messages and content between clients. Indeed,

Fox refers numerous times to the JMS including internally citing the JMS as an

endnote (see endnote 25).         Fox describes that the GMSME “production

collaboration systems use the Java Message service (JMS) as their publish-

subscribe engine and we describe the PDA adaptor that acts as a filter for the PDA

of events from JMS.” Fox at 1; Schmidt ¶63.

      Similar techniques to solve the same problems: Fox describes a PDA

adaptor as an addition to the Garnet Collaboration system to allow for content in a

desktop environment to be transmitted to lightweight clients in a mobile

environment. Fox describes the Garnet Message Service Micro Edition (GMSME)

and the conversion of content into vector files for distribution to the mobile clients.

As described above, in achieving this solution, Fox exploits the publish-subscribe

model of the JMS. Fox refers to at least one aspect of the PDA adaptor as being

“implemented in a pure Java solution.” Fox at 1. As described above, to ensure

delivery to a particular mobile client, the JMS point-to-point model could be

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implemented instead of the publish/subscribe model to achieve the delivery of

messages to mobile clients. Schmidt ¶64.

      Reasonable expectation of success: Fox describes using the JMS and

explicitly states that it was built using the JMS. Combining Fox and the JMS

would have been readily accomplished, and a POSITA would have been motivated

to do so with at least a reasonable expectation of success. Fox refers to the PDA

adaptor and GMSME system as having been built on the JMS publish-subscribe

engine and describes the PDA adaptor as acting like a filter for mobile clients for

JMS events. The JMS is explicit that a POSITA, using the JMS framework, could

implement the publish/subscribe model or the point-to-point model. JMS at 70-71;

Schmidt ¶65.

      Moreover, Fox describes that each device in its system (both fixed and

mobile) has a MachineID. Fox at 3. A POSITA would understand that destination

addresses, e.g., MachineIDs, could be used to implement the point-to-point

addressing scheme with more than a reasonable expectation of success. “GMS

messages [in the fixed network environment] contain many properties, such as a

destination, a delivery mode, a messageID, which can be extracted from a

message header, as well as a complex message body.” Fox at 3; emphasis added.

Each of the mobile clients in the PDA adaptor architecture has a unique user ID,

which is an address for the device: “The mobile user login ID, user ID, is unique

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over the whole collaboration system. In the GMSME system, the unique user ID is

a combination of message destination address, as well as the label of client

message processing unit.” Fox at 2; emphasis added. Schmidt ¶66.

      These addresses and IDs are already included in the GMS message body

(from the fixed network environment to the PDA adaptor) and that GMS message

body is parsed by the PDA adaptor for delivery to a mobile client (see below).

When sending the message to the cellular network environment, the message is

sent using the Hand Held Message Service (“HHMS”) protocol. The HHMS is a

modification of the GMS event service adapted specifically to mobile terminals

interfacing with the PDA adaptor. Fox at 3. The HHMS is used to account for the

handicaps of mobile devices in performance and size compared to desktop

machines. Fox at 2-3. Schmidt ¶67.

      As shown in FIG. 2 of Fox, the anatomy of an HHMS Message includes a

“MachineID” (e.g., “Cell Phone:2”) comprising addressing information associated

with a mobile terminal. Schmidt ¶68.




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      The messaging protocols already in use and described by Fox to implement

the JMS publish/subscribe model can be used to implement the JMS point-to-point

model. JMS at 34-35; Schmidt ¶69.

      C.    Claim 1

            1.     1.P (Preamble)

      A method comprising: To the extent the preamble is limiting, it is disclosed

by Fox. Fox discloses a method for providing vectorized content to a mobile client

from a source via a messaging gateway. E.g., Fox at 5; Schmidt ¶70.

            2.     Limitation 1.1

      Interfacing, via a messaging gateway, a first network environment and a

second network environment: Fox discloses this limitation. Schmidt ¶71.

      This limitation requires a first network environment, a second network
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environment, and a messaging gateway that interfaces with the first network

environment and the second network environment. Schmidt ¶72.

      FIG. 4 of the ’411 patent shows a “functional block diagram of a source

transferring content to a destination via a messaging gateway.” Ex. 1001 at 4:45-

46. Content is provided from a fixed network environment (id. at 2:48-51) via a

messaging gateway (id. at 2:57-59) to a mobile terminal operating in a cellular

network environment (id. at 3:1-4). This is shown in the following annotated FIG.

4 of the ’411 patent:




Schmidt ¶73.

      Fox describes precisely the same system, which uses a first network

environment, a second network environment, and a messaging gateway that sits

between and interfaces with the first network environment and the second network


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environment. Schmidt ¶74.

         In Fox, the first network environment is a “conventional desktop
          environment.” Fox at 2; Schmidt ¶74.

         The second network environment in Fox is a “wireless
          communication” network. Id. at 2. Fox describes using an 802.11b
          wireless LAN for this wireless environment. Fox at 4; Schmidt ¶74.

         The messaging gateway in Fox is the PDA adaptor that “sits between
          mobile clients and the GMS system.” Id. at 2. The mobile clients are
          in the wireless (second) network environment and the GMS system is
          in the wired (first) network environment. Schmidt ¶74.

     These elements are shown in the following annotated Fig. 1 of Fox:




Schmidt ¶75.


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      The purpose of the PDA adaptor – just like the messaging gateway of the

’411 patent – is “to support lightweight clients, such as Personal Digital Assistants

(PDAs)” for use of those mobile clients with the Garnet Message Service. Fox

at 2. As shown in Fig. 1 of Fox, the PDA adaptor interfaces with portable devices

(using the hand-held messaging protocol, shown on the right side of Fig. 1) and

desktop computing devices (shown on the left side of Fig. 1). Schmidt ¶ 76.

             3.    Limitation 1.2

      To receive, from the first network environment, content and addressing

information associated with an apparatus within the second network

environment: This limitation is obvious in view of Fox and the JMS. Specifically,

the “addressing information” is disclosed by the JMS, the remaining elements of

this limitation are disclosed by Fox. Schmidt ¶77.

      To receive, from the first network environment, content:

      As already discussed, Fox’s “wired” network connected to the PDA adaptor

discloses the claimed “first network environment.” Fox at 2 (“The PDA adaptor

sits between mobile clients and the GMS system. … The PDA adaptor looks like

a typical Garnet client to GMS, and adapts data to the client specifications.”).

Devices within that network, e.g., the “JMS/GMS server” (Fox, Fig. 1) generates

data (“content”) that is ultimately destined for (i.e., the claimed “associated with”)

a mobile client in the second network environment. That content is received by the


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PDA adaptor (i.e., the messaging gateway). Fox at 2 (the PDA adaptor “does user

management,    message    mapping,    connection     management,    and   message

optimization.”). After being received by the PDA adapter, that same content is

then ultimately received by the mobile client.      See generally, Limitation 1.4.

Schmidt ¶78.

      To receive, from the first network environment, … addressing information:

      Fox is built on the JMS. A POSITA would have understood that, while Fox

does not expressly describe the entirety of the JMS, it would not have incorporated

only portions of its structure piecemeal.          This would include both the

publish/subscribe addressing scheme (which is expressly described) and JMS’s

point-to-point addressing scheme. And to the extent that PO argues that a POSITA

would not have this understanding, it would have been natural for a POSITA to

implement more of the JMS – particularly the point-to-point model – than what

was expressly described in Fox. The framework for modifying Fox to include the

JMS point-to-point model already exists and is disclosed in Fox. The JMS states

that “[e]very JMS message has a set of standard headers.”              JMS at 34;

Schmidt ¶79.




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Because Fox can achieve the JMS publish/subscribe model using the header

information disclosed in Fox, this header information could readily be applied to

the point-to-point model. Indeed, the JMS header information is discussed in the

generic “Chapter 3. Anatomy of a JMS Message” of the JMS (id. at 33) (applicable

to both the publish/subscribe and point-to-point models) and describes

“Destination” header information. Id. at 35.




Schmidt ¶79.

      The JMS expressly states that in point-to-point messaging “[t]he actual

network location of the destination is transparent to the sender, because the

p2p client works with a Queue identifier obtained from a JNDI [Java Naming and

Directory Interface] namespace, the same way that a pub[lish]/sub[scribe] client

uses a Topic identifier.” JMS at 69. That is, in point-to-point messaging, the

addressing information of the destination is known to the sender and that

addressing information is sent by the sender along with the message content.

Schmidt ¶80.

      Fox discloses that each GMS message (sent to the PDA adaptor) already


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includes a “destination” (Fox at 3) and each GMSME message (generated by the

PDA adaptor to be sent to a mobile client) has a “message destination address” (id.

at 2). For example, each device in Fox’s system has a MachineID (Fox at 3) and

this MachineID is in the header of messages transmitted in Fox. Id.; see also Fig. 2

of Fox below with the MachineID annotated in a message sent from the PDA

adaptor to a mobile client. Because Fox discloses that the messaging is based, at

least in part, on the identity of the recipient mobile client, a POSITA would have

no trouble modify the messages in Fox to implement JMS point-to-point

messaging. Schmidt ¶81.




      To that end, using the point-to-point model, the claimed “addressing

information associated with an apparatus in the second network environment”

(e.g., a MachineID for a specific destination mobile client) is received by the PDA
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adaptor (the “messaging gateway”) from the first network environment (e.g., a

personal computer) for ultimate delivery to a specific mobile client. Schmidt ¶82.

      Associated with an apparatus within the second network environment:

      The claimed “apparatus within the second network environment” is a mobile

client in Fox’s wireless (i.e., the second) network environment. Fox at 2. This

mobile client is shown, for example, as a “Smart Phone,” “Palm OS” device, or

“Win CE” device in Fig. 1:




Schmidt ¶83.

      As already discussed above, this content and addressing information is

“associated” with a particular device in the second network environment because

the addressing information is used to ultimately deliver the content to a device in

the second network environment.       Moreover, Fox also describes content and

addressing information being associated with a mobile client using a mobile
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telephone number, session initiation protocol (SIP), or short messaging service

(SMS). See claims 6-7 (below). Schmidt ¶84.

            4.     Limitation 1.3

      Wherein the content is reformatted in a vectorized format; and: Fox

discloses this limitation. Schmidt ¶85.

      Fox discloses converting file formats – such as Adobe Illustrator,

PowerPoint, and Macromedia Flash – into a vectorized format, inter alia the

Scalable Vector Graphics (SVG) format. In particular, “[t]he scalable formats of

the W3C’s [World Wide Web Consortium] Scalar Vector Graphics (SVG) and

Adobe, Inc’s Portable Document Format (PDF) are … a major advantage of Garnet

System.” Fox at 6. Fox describes that “SVG is useful as it is already available for

Adobe Illustrator and both PowerPoint and Macromedia Flash are exportable to

this syntax.” Id. “Currently there is a Flash (which is a binary 2D vector graphics

format) to SVG converter from the University of Nottingham; OpenOffice.org’s

OpenOffice exports PowerPoint to SVG.” Id. Schmidt ¶86.

      Figure 5 of Fox, annotated below, shows a PowerPoint presentation being

converted to SVG, a vectorized format. Fox also describes that a converted SVG

document is given a URI (Uniform Resource Identifier) and “[a]n exported SVG

document is shared by its URI in the Garnet System.” Fox at 6. Schmidt ¶87.




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            5.     Limitation 1.4

      Determining to generate a signal specifying access information to access

the content. Fox discloses this limitation. Schmidt ¶88.

      This limitation is agnostic as to what is making the determination, and is

therefore rendered obvious where the gateway is making the determination. This is

expressly disclosed by Fox. Schmidt ¶89.

      Fox discloses sending a message to a mobile client with an indication that

reformatted content is available to be delivered to the mobile client. For example,

in response to receiving the content and addressing information described in

limitations 1.2 and 1.3 (e.g., the URI), Fox describes that the PDA adaptor

generates a signal to send content and addressing information destined for a mobile

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client. Fox at 3 (“[W]e seamlessly exchange information from the conventional

Garnet collaboration system with information on the mobile device.”).          The

purpose of Fox and the GMSME system is to send content between devices, and

particularly to include mobile clients in addition to the desktop clients that were

already part of the GMS/JMS system. Fox at 1 (“Universal access refers to the

need that all users can access information systems (grids) independent of their

access device and their physical capabilities.”); Schmidt ¶90.

      In order to determine where to send the content and addressing information,

Fox describes that “[w]e keep user profile and mobile device profile, such as

screen size and device type in the PDA adaptor.” Fox at 3. Fox therefore discloses

a determination to generate a signal to send to a mobile client based on the device

specification of the mobile client, where the signal includes the URI (the claimed

“specifying access information to access the content”). Schmidt ¶91.




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      Fox also discloses this limitation through its description of determining to

generate and send signals via Instant Messenger and Text Chatting. Fox at 4. The

Instant Messages and Text Chats are between the desktop devices in the fixed

(first) network environment and a mobile client or clients in the cellular (second)

network environment. Id. (“We have integrated PDA based Instant Messenger

(IM) and Text Chat into the GMS publish/subscribe collaboration environment.”).

These signals can include the vectorized content. See, Fox at 5 and Figure 5

(reproduced above in limitation 1.3). A POSITA would understand that these

signals would likewise include a link or a URI for the vectorized content.

Schmidt ¶92.

      Although described in connection with the publish/subscribe model, for the

reasons described above, these Instant Messenger and Text Chatting signals could

be sent using the JMS point-to-point model. Indeed, in some instances, it would

have been desirable to do so (e.g., connectivity issues, bandwidth issues, sensitivity

of information issues). Schmidt ¶93.

      See Fig. 4 below with Instant Messaging between a fixed device and a

mobile client via the PDA adaptor highlighted:




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Schmidt ¶94.

      Furthermore, Fox also describes “[u]sing SMS transport [Short Message

Service for sending brief messages] … to exchange messages between disparate

platforms into the PDA adaptor [to] support disparate mobile information devices

for universal collaboration and access.” Fox at 5. That is, Fox also describes a

determination to generate an SMS signal between the PDA adaptor and mobile

clients. Schmidt ¶95.

      D.    Claim 2

      …, determining to transmit the content to the apparatus in response to a

request from the apparatus, the request being generated in response to the

signaling. This limitation is obvious in view of Fox. Schmidt ¶96.

      As described in connection with limitations 1.2 and 1.4, Fox teaches that,
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after conversion into the vectorized format, “[a]n exported SVG document is

shared by its URI in the Garnet System and the PDA adaptor subscribes to this

information.” Fox at 6. As also described in connection with limitations 1.2

and 1.4, a desktop device may, using the point-to-point scheme of the JMS, send a

message to the PDA adaptor that an SVG document has been converted and that

the document is to be sent to a particular mobile device. Once received by the

PDA adaptor, the PDA adaptor can then furnish a signal to the mobile device to

access the content by the URI of the content. Schmidt ¶97.

       In response to receiving the URI at the mobile client, a user of the mobile

client to which the URI was sent can select to download the content by the

content’s URI. Fox describes the URI as separate from the content itself. Fox at 6

(“An exported SVG document is shared by its URI.”            Emphasis added.).     A

POSITA would recognize that, after a user selects to download the content, the

PDA adaptor determines to transmit the content to the mobile client. Schmidt ¶98.

       To the extent that PO argues that Fox describes files being transferred from

the PDA adaptor to mobile clients in a format other than a vectorized format (e.g.,

images as a raster or a bitmap), it would have been obvious to a POSITA to

transfer the content in a vectorized format which is typically “much smaller in file

size   than   traditional   …   JPEG     graphics”   or   bitmaps.      See,     e.g.,

https://www.sitepoint.com/v-svg-which-should-choose/;         http://www.csun.edu/

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~cam75434/project/SVG/bvv.htm; https://pubsapp.acs.org/subscribe/archive/tcaw

/11/i06/html/06comp.html. Schmidt ¶99.

      E.    Claim 3

      …, wherein the content is in a scalable vector graphics (SVG) format.

      As described above in connection with limitation 1.3, Fox discloses that the

content is reformatted into SVG format. Schmidt ¶101.

      F.    Claim 4

      …, determining to reformat the content into another vectorized format

supported by the apparatus for transmitting the reformatted content to the

apparatus. This limitation is obvious in view of Fox. Schmidt ¶102.

      For example, Fox describes exporting documents in Portable Document

Format (PDF). Fox at 6. PDF is a vector format. As with an exported SVG

document (see claim 1 above), an exported PDF document would have a URI

associated with it and the PDA adaptor would receive a message with this URI.

Schmidt ¶103.

      Fox also describes that “[t]o reduce process load of mobile device, we move

the processing module for each application from the hand held device to the PDA

adaptor on the server side.” In addition, “the PDA adaptor performs graphic

processing needed for SVG or shared export events. Because of this processing,

the mobile client receives a ready to use image from the PDA adaptor.” Fox at 3.


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Consequently, Fox describes formatting content in a first vectorized format (the

content exported into PDF format) into another vectorized format (SVG). Schmidt

¶104.

        To the extent PO argues that Fox doesn’t explicitly disclose reformatting the

content into another vectorized format, in view of the above and the desirability to

have content in the SVG format, it would have been obvious to a POSITA to do so.

Schmidt ¶105.

        G.     Claim 5

        A method of claim 4, further comprising:

        receiving either a text message, a source identification, or a combination

thereof; and

        determining to append the reformatted content to the text message, the

source identification, or the combination thereof, for transmission to the

apparatus. This limitation is obvious in view of Fox. Schmidt ¶106.

        As described in connection with limitations 1.2 and 1.4, and claim 2, Fox

teaches the integration of text messaging (including SMS messages) to send

messages from a desktop environment to a mobile client via the PDA adaptor. Fox

at 5. In particular, Fox states “[u]sing SMS transport … to exchange messages

between disparate platforms into the PDA adaptor, we can support disparate

mobile information devices for universal collaboration and access.”          Id.   In


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response to receiving the reformatted content at the PDA adaptor, the PDA adaptor

determines to append (and appends) the reformatted content to the SMS before

transmission to the particular mobile client. Fox at 6; Schmidt ¶107.

      H.    Claim 6

      …, wherein the addressing information includes either a mobile telephone

number, a session initiation protocol (SIP) address, or a combination thereof.

This limitation is obvious in view of Fox. Schmidt ¶108.

      As described above in connection with limitation 1.4 and claim 2, Fox

describes sending the content to a mobile device by SMS. SMS messages are sent

to mobile devices using the mobile telephone number of the device.           See

https://en.wikipedia.org/wiki/Short_Message_Service_technical_realisation_(GSM

) (“When the SMSC [Short Message service center] determines it needs to attempt

to deliver a Short Message to its destination, it will send the SMS-PP APDU

[Application Protocol Data Unit] containing the text message, the ‘B-Party’

(destination phone number) and other details to the Gateway MSC (GMSC)

logical component on the SMSC”) (emphasis added). That is, the addressing

information includes a mobile telephone number. See also, Short Message Service

(SMS) for fixed networks; Network Based Solution (NBS); Part 3: Integrated

Services Digital Network (ISDN) Access Protocol, page 23 (located at

https://www.etsi.org/deliver/etsi_es/202000_202099/20206003/01.01.01_60/es_20


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206003v010101p.pdf) which shows that an SMS Protocol Data Unit includes the

receiving party’s telephone number. Schmidt ¶109.




      In addition, Fox discloses integrating an Instant Messenger (IM) feature and

a Text Chat feature into the GMSME environment. Fox at 4-5. Instant Messenger

is built on the Session Initiation Protocol (SIP) which is a “signaling protocol used

for initiating, maintaining, and termination real-time sessions that include[s] …

instant messaging.” See, https://en.wikipedia.org/wiki/Session_Initiation_Protocol.

The Instant Messenger features of Fox therefore relies upon, at least in part, a

session initiation protocol.   It is therefore obvious, in view of Fox, that the

addressing   information    includes   a    session   initiation   protocol   address.

Schmidt ¶110.




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      I.     Claim 7

      …, wherein the signaling is in compliance with a short messaging service

(SMS), or a session initiation protocol (SIP): This limitation is obvious in view of

Fox. Schmidt ¶111.

      As described in connection with limitation 1.4 and claims 2 and 6, Fox

describes the integration of SMS messaging and instant messaging (based on SIP)

into the Garnet system architecture which provides for signaling a device in a

mobile network environment (the second network environment) via the PDA

adaptor (the messaging gateway). The signaling is therefore in compliance with a

short message service or session initiation protocol. Schmidt ¶112.

      J.    Claim 8

      …, determining to authenticate the apparatus based, at least in part, upon

the addressing information of the apparatus. This limitation is obvious in view

of Fox and the JMS. Schmidt ¶113.

      As described above in connection with limitation 1.2, the architecture

described in Fox is built on the JMS. Fox at 1. The JMS describes authentication

of the user (client) to the messaging system and verification of the server to the

JMS client. JMS at 116; Schmidt ¶114.




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      The JMS also describes authentication by the use of public keys or secret

keys (JMS at 117) commonly known and used in cryptography. See, for example,

https://en.wikipedia.org/wiki/Public-key_cryptography and

https://en.wikipedia.org/wiki/Key_authentication. Schmidt 115.




      Knowing that Fox is built on the JMS, it would have been obvious to a

POSITA to combine the authentication features of the JMS with Fox such that the

mobile clients described in Fox would be authenticated based, at least in part, on

the addressing information of the mobile clients (e.g., the MachineID). Indeed, it

would be desirable, at least in some circumstances, to authenticate a mobile client

such as when sensitive information is being transmitted from the fixed network

environment to a mobile client. Schmidt ¶116.




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      K.     Claim 9

      A method of claim 8, wherein the apparatus is authenticated based, at least

in part, upon an international mobile equipment identification code associated

with the apparatus, a session authentication key transferred to the apparatus

during the signaling, or a combination thereof. This limitation is obvious in view

of Fox and the JMS. Schmidt ¶117.

      As described above in connection with claim 8 (by reference to

limitation 1.2), Fox alone describes sending HHMS messages that include a

“MachineID” (e.g., “Cell Phone:2”). Fox at 3, FIG. 2. A POSITA would naturally

be inclined to include the IMEI code associated with a mobile device as part of the

MachineID or otherwise as part of the message header information. Schmidt ¶118.

      Fox, in combination with the JMS, also renders this limitation obvious. As

described above in claim 8, the JMS describes public keys and secret keys to

authenticate a JMS client. E.g., JMS at 116-117. It would have been obvious to a

POSITA to use the public keys and secret keys to create a session key – to

authenticate communications between the PDA adaptor and mobile clients – using

commonly known cryptographic techniques for encrypting and authenticating

communications      between     a    sender    and    receiver.        See,   e.g.,

https://en.wikipedia.org/wiki/Key_authentication (“Key authentication is used to

solve the problem of authenticating the keys of the person (say ‘person B’) to


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whom some other person (‘person A’) is talking to or trying to talk to”);

https://en.wikipedia.org/wiki/Message_authentication_code (“The MAC [message

authentication code] value protects a message's data integrity, as well as its

authenticity, by allowing verifiers (who also possess the secret key) to detect any

changes to the message content”). Schmidt ¶119.

         L.    Claim 10

               1.     10.P (Preamble)

         An apparatus comprising: To the extent the preamble is limiting, it is

disclosed by Fox. Fox discloses an apparatus for providing content to a mobile

client from a source via a messaging gateway. Fox at 5; Schmidt ¶120.

         Fox discloses this limitation for the reasons given for limitation 1.P

(Preamble). Schmidt ¶121.

               2.     Limitation 10.1

         At least one processor: Fox discloses this limitation. First, a POSITA

would have understood that disclosure of a server (e.g., Fox at 2, 3; Fig. 1) is also

an express disclosure of “at least one processor,” as a server by definition would

include a processor. 9 In addition to a processor being inherent in the server



9
    Indeed, to the extent the disclosure of a “server” is not an express disclosure of at

least one processor, it would make the at least one processor obvious.

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devices, desktop computing devices, the PDA adaptor, and the mobile devices, Fox

discloses that lightweight mobile clients typically have slower processors than

conventional desktop devices. Fox at 2. In addition, Fox also discloses an API for

application processors that does message processing of mobile device applications

such as converted SVG content. Fox at 2; Schmidt ¶122.

            3.    Limitation 10.2

      At least one memory including computer program code for one or more

programs: Fox discloses this limitation. In addition to a memory and computer

code being inherent in the server, desktop computing devices, the PDA adaptor,

and the mobile devices, Fox describes the PDA adaptor using a register table to

manage connections and deliver messages. Fox at 2. Schmidt ¶123.

            4.    Limitation 10.3

      The at least one memory and the computer program code configured to,

with the at least one processor, cause the apparatus to perform at least the

following: Fox discloses this limitation. Fox describes that the “new universal

collaboration and access architecture … supports mobile devices and desktop

computers.” Fox at 2. Fox further describes that the features of the GMS and

GMSME are shown in Table 1, below. Schmidt ¶124.

Schmidt ¶122. For similar reasons, it would be inherent in the disclosure of a

server. Schmidt ¶122.

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      Fox also states that “the GMS server deals with message routing [and] the

PDA adaptor of GMSME does the same task for mobile devices.” Id. at 2. To

perform this message routing, a memory, computer code, and a processor are

required. For example, Fox expressly states that “[t]o reduce process load of

mobile device, we move the processing module for each application from the hand

held device to the PDA adaptor on the server side. For example, before sending an

event message, such as a shared export update, the PDA adaptor performs graphic

processing needed for SVG or shared export events.” Fox at 3. Schmidt ¶125.

      The at least one processor in limitation 10.1 and the at least one memory and

computer code in limitation 10.2 are thereby configured to perform the following

limitations. Schmidt ¶126.

            5.     Limitation 10.4

      Interface, via a messaging gateway, a first network environment and a

second network environment: Fox discloses this limitation for the reasons given

for limitation 1.1. Schmidt ¶127.



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             6.  Limitation 10.5

      To receive, from the first network environment, content and addressing

information associated with an apparatus associated within the second network

environment: This limitation is obvious in view of Fox and the JMS Service for

the reasons given for limitation 1.2. Schmidt ¶128.

             7.    Limitation 10.6

      Wherein the content is reformatted in a vectorized format; and: Fox

discloses this limitation for the reasons given for limitation 1.3. Schmidt ¶129.

             8.    Limitation 10.7

      Determine to generate a signal specifying access information to access the

content: Fox discloses this limitation for the reasons given for limitation 1.4.

Schmidt ¶130.

      M.     Claim 11

      …, determine to transmit the content to the apparatus in response to a

request from the apparatus, the request being generated in response to the

signaling: This limitation is obvious in view of Fox for the reasons given for

claim 2. Schmidt ¶131.

      N.     Claim 12

      …, wherein the content is in a scalable vector graphics (SVG) format: Fox

discloses this limitation for the reasons given for claim 3. Schmidt ¶132.


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      O.     Claim 13

      …, determine to reformat the content into another vectorized format

supported by the apparatus, for transmitting the reformatted content to the

apparatus: This limitation is obvious in view of Fox for the reasons given for

claim 4. Schmidt ¶133.

      P.       Claim 14

      An apparatus of claim 13, wherein the apparatus is further caused to:

      receive either a text message, a source identification, or a combination

thereof; and

      determine to append the reformatted content to the text message, the

source identification, or the combination thereof, for transmission to the

apparatus: This limitation is obvious in view of Fox for the reasons given for

claim 5. Schmidt ¶134.

      Q.       Claim 15

      …, wherein the addressing information includes either a mobile telephone

number, a session initiation protocol (SIP) address, or a combination thereof:

This limitation is obvious in view of Fox for the reasons given for claim 6.

Schmidt ¶135.




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      R.     Claim 16

      An apparatus according to claim 15, wherein the signaling is in

compliance with a short messaging service (SMS), or a session initiation

protocol (SIP): This limitation is obvious in view of Fox for the reasons given for

claim 7. Schmidt ¶136.

      S.     Claim 17

      …, determine to authenticate the apparatus based, at least in part, upon

the addressing information of the apparatus: This limitation is obvious in view of

Fox and the JMS for the reasons given for claim 8. Schmidt ¶137.

      T.     Claim 18

             1.    18.P (Preamble)

      A computer-readable storage medium carrying one or more sequences of

one or more instructions which, when executed by one or more processors, cause

an apparatus to at least perform the following steps: To the extent the preamble is

limiting, it is disclosed by Fox.     Fox discloses a computer-readable storage

medium – such as a server – that causes an apparatus to perform the steps

described below. See, e.g., Fox at 2, 3; Fig. 1. Fox discloses this limitation for the

reasons given for limitation 1.P (Preamble). Schmidt ¶138.




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             2.  Limitation 18.1

      Interfacing, via a messaging gateway, a first network environment and a

second network environment: Fox discloses this limitation for the reasons given

for limitation 1.1. Schmidt ¶139.

             3.    Limitation 18.2

      To receive, from the first network environment, content and addressing

information associated with an apparatus associated within the second network

environment: This limitation is obvious in view of Fox and the JMS for the

reasons given for limitation 1.2. Schmidt ¶140.

             4.    Limitation 18.3

      Wherein the content is reformatted in a vectorized format; and: Fox

discloses this limitation for the reasons given for limitation 1.3. Schmidt ¶141.

             5.    Limitation 18.4

      Determining to generate a signal specifying access information to access

the content: Fox discloses this limitation for the reasons given for limitation 1.4.

Schmidt ¶142.

      U.     Claim 19

      …, determining to transmit the content to the apparatus in response to a

request from the apparatus, the request being generated in response to the




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signaling: This limitation is obvious in view of Fox for the reasons given for

claim 2. Schmidt ¶143.

        V.     Claim 20

        …, wherein the content is in a scalable vector graphics (SVG) format: Fox

discloses this limitation for the reasons given for claim 3. Schmidt ¶144.

XI.     GROUND 2: CLAIMS 1-7, 10-16, AND 18-20 ARE OBVIOUS IN
        VIEW OF FOX

        A.     Overview of Ground 2

        Fox renders claims 17, 10-16, and 18-20 obvious. In particular, this Ground

asserts that Fox alone provides for addressing mobile clients in three ways

(Schmidt ¶145):

 Direct addressing: Fox includes code that allows the messaging gateway to

     deliver content to a specific apparatus in the second network environment
                                      10
     (without relying on the JMS).         This embodiment renders the claims

     unpatentable under either Petitioner’s proposed construction of “messaging

     gateway” or under PO’s broader, “ordinary meaning,” construction.

     Schmidt ¶145.

 Publish/subscribe addressing (addressing a particular mobile client): Fox


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     This addressing scheme is different than the point-to-point addressing scheme

disclosed in JMS, and is expressly disclosed in Fox.

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   discloses the JMS publish/subscribe addressing scheme.       The “topic” in a

   message published in the publish/subscribe addressing scheme can be set such

   that the content is delivered only to a specific apparatus in the second network

   environment. This embodiment renders the claims unpatentable under either

   Petitioner’s proposed construction of “messaging gateway” or under PO’s

   broader, “ordinary meaning,” construction. Schmidt ¶145.

 Publish/subscribe addressing (agnostic as to the mobile client or clients that

   are addressed): Fox discloses that, when broadcasting messages, it is agnostic

   as to which mobile client or clients the content is delivered to. Fox’s PDA

   adaptor will deliver the content to any devices that is subscribed to the topic.

   This embodiment renders the claims unpatentable under PO’s “ordinary

   meaning” construction of “messaging gateway.” Schmidt ¶145.

      B.    Claim 1

            1.     1.P (Preamble)

      A method comprising: To the extent the preamble is limiting, it is disclosed

by Fox. Fox discloses this limitation for the reasons given for Ground 1, 1.P

(Preamble). Schmidt ¶146.

            2.     Limitation 1.1

      Interfacing, via a messaging gateway, a first network environment and a

second network environment: Fox discloses this limitation for the reasons given


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for Ground 1, limitation 1.1. Schmidt ¶147.

            3.    Limitation 1.2

      To receive, from the first network environment, content and addressing

information associated with an apparatus within the second network

environment: This limitation is obvious in view of Fox. Schmidt ¶148.

      Direct addressing:

      To receive, from the first network environment, content:

      Fox discloses this limitation for the reasons given for Ground 1,

limitation 1.2. Schmidt ¶149.

      To receive, from the first network environment, … addressing information:

      As described above, Fox describes that included in a GMS message header

(from the fixed network environment to the PDA adaptor) is a destination address

such as a MachineID. Fox at 3. When received by the PDA adaptor, the GMS

message is parsed for delivery to a mobile client. Id. at 2-3. The content is then

sent to a mobile client using the Hand Held Message Service (“HHMS”) protocol

which also includes a MachineID.       Id. at 3.    Devices in the first network

environment can therefore target specific clients in the second network

environment using the MachineID of that specific client, the MachineID being sent

as part of the message in the GMS and then included as part of the message sent in

the second network environment using the HHMS protocol. Schmidt ¶150.


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      Associated with an apparatus within the second network environment:

      The MachineID in Fox is associated with a mobile client in the second

network environment. Fox at 3. Particular mobile clients can therefore be targeted

to receive content and addressing information. Schmidt ¶151.

      Publish/subscribe addressing (addressing a particular mobile client):

      To receive, from the first network environment, content:

      Fox discloses this limitation for the reasons given for Ground 1,

limitation 1.2. Schmidt ¶152.

      To receive, from the first network environment, … addressing information:

      Using the publish/subscribe model, Fox describes the PDA adaptor

“listening” to messages and events broadcast on the Garnet collaboration system

(the fixed network) by subscribing to the Garnet Message Service. Fox at 2.

These messages and events are “topics” that are broadcast by sending devices and

received by subscribing clients. Schmidt ¶153.

      Shown below is the anatomy of an HHMS with the “TopicID” annotated.

When using the publish/subscribe model of the JMS (which Fox is based on and is

disclosed in Fox), a topic is appended to the content as a message header when

sending that content from the first network environment.         Fox at 2-3.   This

message is broadcast to all receiving devices, including the PDA adaptor which

then redistributes the message to mobile clients in the wireless network

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environment. Id.       Under the publish/subscribe model, the “topic” can be

understood as the claimed “addressing information.”           The message will be

delivered to only those clients that are subscribed to the topic. Schmidt ¶154.




      Associated with an apparatus within the second network environment:

      When using the publish/subscribe model of the JMS, the “topic” (Fox at 2-3)

can be set such that only a particular target mobile client will receive the message

and no other mobile clients will receive the message. This can be accomplished by

setting the topic to a topic that only a particular mobile client is subscribed to. For

example, the topic can be set to that particular mobile client’s MachineID or

international mobile equipment identification code. A “topic” is thereby associated

with a particular mobile client. Schmidt ¶155.


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      Publish/subscribe addressing (agnostic as to the mobile client or clients that

are addressed):

      To receive, from the first network environment, content:

      Fox discloses this limitation for the reasons given for Ground 1,

limitation 1.2. Schmidt ¶156.

      To receive, from the first network environment, … addressing information:

      Fox discloses this limitation for the reasons described immediately above in

connection with using the publish/subscribe model to address a particular mobile

client. Schmidt ¶157.

      Associated with an apparatus within the second network environment:

      As described in Fox at 2-3, the topic can be set such that a non-descript

mobile client or clients receive the message. The sending device may not be aware

which client or clients is subscribed to the topic. Schmidt ¶158.

             4.    Limitation 1.3

      Wherein the content is reformatted in a vectorized format; and: Fox

discloses this limitation for the reasons given for Ground 1, limitation 1.3.

Schmidt ¶159.

             5.    Limitation 1.4

      Determining to generate a signal specifying access information to access

the content. Fox discloses this limitation for the reasons given for Ground 1,


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limitation 1.4. Schmidt ¶160.

      C.       Claim 2

      …, determining to transmit the content to the apparatus in response to a

request from the apparatus, the request being generated in response to the

signaling. This limitation is obvious in view of Fox for the reasons given for

Ground 1, claim 2. Schmidt ¶161.

      D.       Claim 3

      …, wherein the content is in a scalable vector graphics (SVG) format.

      Fox discloses this limitation for the reasons given for Ground 1, claim 3.

Schmidt ¶162.

      E.       Claim 4

      …, determining to reformat the content into another vectorized format

supported by the apparatus for transmitting the reformatted content to the

apparatus. This limitation is obvious in view of Fox for the reasons given for

Ground 1, claim 4. Schmidt ¶163.

      F.       Claim 5

      A method of claim 4, further comprising:

      receiving either a text message, a source identification, or a combination

thereof; and

      determining to append the reformatted content to the text message, the


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source identification, or the combination thereof, for transmission to the

apparatus. This limitation is obvious in view of Fox for the reasons given for

Ground 1, claim 5. Schmidt ¶164.

      G.    Claim 6

      …, wherein the addressing information includes either a mobile telephone

number, a session initiation protocol (SIP) address, or a combination thereof.

This limitation is obvious in view of Fox for the reasons given for Ground 1,

claim 6. Schmidt ¶165.

      H.    Claim 7

      …, wherein the signaling is in compliance with a short messaging service

(SMS), or a session initiation protocol (SIP): This limitation is obvious in view of

Fox for the reasons given for Ground 1, claim 7. Schmidt ¶166.

      I.    Claim 10

            1.     10.P (Preamble)

      An apparatus comprising: To the extent the preamble is limiting, it is

disclosed by Fox. Fox discloses this limitation for the reasons given for Ground 1,

10.P (Preamble). Schmidt ¶167.

            2.     Limitation 10.1

      At least one processor: Fox discloses this limitation for the reasons given

for Ground 1, limitation 10.1. Schmidt ¶168.


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             3.  Limitation 10.2

      At least one memory including computer program code for one or more

programs: Fox discloses this limitation for the reasons given for Ground 1,

limitation 10.2. Schmidt ¶169.

            4.    Limitation 10.3

      The at least one memory and the computer program code configured to,

with the at least one processor, cause the apparatus to perform at least the

following: Fox discloses this limitation for the reasons given for Ground 1,

limitation 10.3. Schmidt ¶170.

            5.    Limitation 10.4

      Interface, via a messaging gateway, a first network environment and a

second network environment: Fox discloses this limitation for the reasons given

for Ground 2, limitation 1.1. Schmidt ¶171.

            6.    Limitation 10.5

      To receive, from the first network environment, content and addressing

information associated with an apparatus associated within the second network

environment: This limitation is obvious in view of Fox for the reasons given for

Ground 2, limitation 1.2. Schmidt ¶172.




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             7.  Limitation 10.6

      Wherein the content is reformatted in a vectorized format; and: Fox

discloses this limitation for the reasons given for Ground 2, limitation 1.3.

Schmidt ¶173.

            8.    Limitation 10.7

      Determine to generate a signal specifying access information to access the

content: Fox discloses this limitation for the reasons given for Ground 2,

limitation 1.4. Schmidt ¶174.

      J.    Claim 11

      …, determine to transmit the content to the apparatus in response to a

request from the apparatus, the request being generated in response to the

signaling: This limitation is obvious in view of Fox for the reasons given for

Ground 2, claim 2. Schmidt ¶175.

      K.    Claim 12

      …, wherein the content is in a scalable vector graphics (SVG) format: Fox

discloses this limitation for the reasons given for Ground 2, claim 3.

Schmidt ¶176.

      L.    Claim 13

      …, determine to reformat the content into another vectorized format

supported by the apparatus, for transmitting the reformatted content to the


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apparatus: This limitation is obvious in view of Fox for the reasons given for

Ground 2, claim 4. Schmidt ¶177.

      M.       Claim 14

      An apparatus of claim 13, wherein the apparatus is further caused to:

      receive either a text message, a source identification, or a combination

thereof; and

      determine to append the reformatted content to the text message, the

source identification, or the combination thereof, for transmission to the

apparatus: This limitation is obvious in view of Fox for the reasons given for

Ground 2, claim 5. Schmidt ¶178.

      N.       Claim 15

      …, wherein the addressing information includes either a mobile telephone

number, a session initiation protocol (SIP) address, or a combination thereof:

This limitation is obvious in view of Fox for the reasons given for Ground 2,

claim 6. Schmidt ¶179.

      O.       Claim 16

      An apparatus according to claim 15, wherein the signaling is in

compliance with a short messaging service (SMS), or a session initiation

protocol (SIP): This limitation is obvious in view of Fox for the reasons given for

Ground 2, claim 7. Schmidt ¶180.


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      P.     Claim 18

             1.    18.P (Preamble)

      A computer-readable storage medium carrying one or more sequences of

one or more instructions which, when executed by one or more processors, cause

an apparatus to at least perform the following steps: To the extent the preamble is

limiting, it is disclosed by Fox. Fox discloses this limitation for the reasons given

for Ground 1, limitation 18.P (Preamble). Schmidt ¶181.

             2.    Limitation 18.1

      Interfacing, via a messaging gateway, a first network environment and a

second network environment: Fox discloses this limitation for the reasons given

for Ground 2, limitation 1.1. Schmidt ¶182.

             3.    Limitation 18.2

      To receive, from the first network environment, content and addressing

information associated with an apparatus associated within the second network

environment: This limitation is obvious in view of Fox for the reasons given for

Ground 2, limitation 1.2. Schmidt ¶183.

             4.    Limitation 18.3

      Wherein the content is reformatted in a vectorized format; and: Fox

discloses this limitation for the reasons given for Ground 2, limitation 1.3.

Schmidt ¶184.


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             5.  Limitation 18.4

      Determining to generate a signal specifying access information to access

the content: Fox discloses this limitation for the reasons given for Ground 2,

limitation 1.4. Schmidt ¶185.

      Q.    Claim 19

      …, determining to transmit the content to the apparatus in response to a

request from the apparatus, the request being generated in response to the

signaling: This limitation is obvious in view of Fox for the reasons given for

Ground 2, claim 2. Schmidt ¶186.

      R.    Claim 20

      …, wherein the content is in a scalable vector graphics (SVG) format: Fox

discloses this limitation for the reasons given for Ground 2, claim 3.

Schmidt ¶187.

XII. GROUND 3: CLAIMS 8, 9, AND 17 ARE OBVIOUS IN VIEW OF
     FOX AND THE JAVA MESSAGE SERVICE

      A.    Overview of Ground 3

      Ground 3 builds on Ground 2, with the addition of the JMS reference for the

“authentication” limitations of claims 8, 9, and 17. Thus, the analysis of claims 8,

9, and 17 is identical to the analysis as set forth in Ground 1. In particular, the

JMS is cited for the “authenticat[ing] the apparatus” limitations to render obvious

that Fox’s PDA adaptor authenticates the mobile clients. A POSITA would have

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combined Fox with the JMS for at least the same reasons disclosed in connection

with Ground 1. Schmidt ¶188.

      B.    Claim 8

      …, determining to authenticate the apparatus based, at least in part, upon

the addressing information of the apparatus.

      This limitation is obvious in view of Fox and the JMS for the reasons given

for Ground 1, claim 8. Schmidt ¶189.

      C.    Claim 9

      A method of claim 8, wherein the apparatus is authenticated based, at least

in part, upon an international mobile equipment identification code associated

with the apparatus, a session authentication key transferred to the apparatus

during the signaling, or a combination thereof.

      This limitation is obvious in view of Fox and the JMS for the reasons given

for Ground 1, claim 9. Schmidt ¶190.

      D.    Claim 17

      …, determine to authenticate the apparatus based, at least in part, upon

the addressing information of the apparatus: This limitation is obvious in view of

Fox and the JMS for the reasons given for Ground 1, claim 17. Schmidt ¶191.




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XIII. CONCLUSION

     For at least the foregoing reasons, this Petition should be instituted.


                                      Respectfully submitted,

Date: December 23, 2021               /s/ James Glass
                                      James Glass (Reg. No. 46729)




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                   CERTIFICATION UNDER 37 C.F.R. § 42.24
      Under the provisions of 37 C.F.R. § 42.24, the undersigned hereby certifies

that the word count for the foregoing Petition for inter partes review (excluding the

table of contents, table of authorities, mandatory notices, certificate of service or

word count, and appendix of exhibits or claim listing) totals 14,026 words, which

is within the word limit allowed under 37 C.F.R. § 42.24(a)(i).




Date: December 23, 2021               /s/ James Glass
                                      James Glass (Reg. No. 46729)




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                          CERTIFICATE OF SERVICE

      Pursuant to 37 C.F.R. §§ 42.6(e), 42.105(a), the undersigned hereby certifies

service on the Patent Owner of a copy of this Petition and its respective exhibits at

the official correspondence address for the attorney of record for the ’411 patent as

shown in USPTO PAIR via FedEx:

      DITTHAVONG, STEINER, & MLOTKOWSKI
      201 N. Union Street, Suite 110
      Alexandria VA 22314

      Additionally, a copy of this Petition and its respective exhibits were served

via FedEx to the following address:

      ETHERIDGE LAW GROUP, PLLC
      2600 E. Southlake Blvd., Suite 120 / 324
      Southlake, Texas 76092

      Courtesy copies were also sent via electronic mail to Patent Owner’s counsel

of record in the related district court proceeding, Case No. 6:20-cv-01164-ADA

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Date: December 23, 2021          /s/ James Glass
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